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       UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH
                         NORTHERN DIVISION


 KAYTRIAUNA FLINT,                              JUDGMENT IN A CIVIL CASE

       Plaintiff,

 v.                                                 Case No. 1:21-cv-00167

 UTAH STATE UNIVERSITY,                         Magistrate Judge Daphne A. Oberg

       Defendant.


      IT IS ORDERED AND ADJUDGED that this action is DISMISSED WITH

PREJUDICE.

      DATED this 30th day of September, 2022.

                                        BY THE COURT:



                                        Daphne A. Oberg
                                        United States Magistrate Judge
